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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

  Case No.:      CV 21-6401 RGK (RAO)                                Date:    September 29, 2021
  Title:         Darnell Black Sr. v. Ralph Diaz et al.



  Present:          The Honorable ROZELLA A. OLIVER, U.S. MAGISTRATE JUDGE

                 Donnamarie Luengo                                      N/A
                   Deputy Clerk                                Court Reporter / Recorder

       Attorneys Present for Plaintiff(s):                Attorneys Present for Defendant(s):

                        N/A                                               N/A

 Proceedings:             (In Chambers) ORDER TO SHOW CAUSE

         Plaintiff filed the Complaint in this action on October 5, 2020 in the Eastern District of
 California. Dkt. No. 1. At the time of filing, Plaintiff was incarcerated in state prison. See id.
 On January 27, 2021, Plaintiff filed a notice of change of address. Dkt. No. 16. Plaintiff
 indicated that he would be released on January 28, 2021, and provided his new address. Id. On
 August 9, 2021, the case was transferred to this district. Dkt. No. 21. On August 12, 2021, the
 Court dismissed the Complaint with leave to amend. Dkt. No. 24. The August 12 order directed
 Plaintiff to file a First Amended Complaint or Notice of Dismissal by September 13, 2021. Id.

         To date, Plaintiff has not filed an amended complaint or any other response to the August
 12 order. Plaintiff is ordered to show cause, in writing, no later than October 29, 2021, why
 this action should not be dismissed for failure to prosecute, pursuant to Federal Rule of Civil
 Procedure 41(b). Alternatively, Plaintiff may discharge this Order by filing a First Amended
 Complaint on or before this deadline.

         Plaintiff is expressly advised that failure to timely file a response to this Order will
 result in a recommendation that this action be dismissed for failure to prosecute pursuant
 to Federal Rule of Civil Procedure 41(b).

 IT IS SO ORDERED.


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                                                                 Initials of Preparer         dl




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